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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

JANE DOE

                  Plaintiff,

       v.

ST. VINCENT MEDICAL GROUP, INC.,                CAUSE NO. 1:19-cv-03777
ST. VINCENT CARMEL HOSPITAL,
INC., AND HANNAH THORNTON, R.N.,
N.P.,

                  Defendants.


  ORDER ON APPLICATION TO ISSUE AUTHORIZING ORDER PURSUANT TO 42
                    C.F.R. CH. I, PART 2, SUBPART E

       This matter is before the Court on Defendants’ Application to issue an Authorizing Order

pursuant to 42 Ch. I, Part 2, Subpart E. (the “Application”). Upon consideration of the

Application, the Court hereby GRANTS the Application and authorizes the production of Jane

Doe’s Positive Sobriety Institute, LLC treatment records pursuant to the terms of the Protective

Order and Subpoena Duces Tecum attached to Defendants’ Application.

       SO ORDERED this _____ day of June, 2019.




                                                  Judge, United States District Court for the
                                                  Northern District of Illinois, Eastern Division
